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                                                                   Direct Fax: +1 404 572 5100
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VIA EMAIL


January 7, 2020

Kristine K. Kraft
Elizabeth M. Wilkins
Schlichter, Bogard, & Denton LLP
100 South 4th Street, Suite 1200
St. Louis, Missouri 63102
kkraft@uselaws.com
bwilkins@uselaws.com

       Re: A.O.A. et al. v. The Doe Run Resources Corp. et al. – Conferral Regarding
           Discovery Deficiencies

Dear Kris and Beth:

       I write regarding certain discovery deficiencies in the above-referenced case and to
schedule a meet and confer regarding the same.

   1. Plaintiff Profile Sheets

        The Court has ordered Plaintiffs to submit completed Plaintiff Profile Sheets within 60
days of Defendants’ Notice of Removal of new actions to federal court. See Case Management
Order No. 10 [Doc. 303]. Our records indicate that Plaintiffs in five Reid-consolidated actions
filed between 2016 and 2018 have yet to serve Profile Sheets in accordance with this requirement
(4:16-cv-01731, 4:18-cv-00575, 4:17-cv-01270, 4:18-cv-00585, and 4:18-cv-00594). See
Enclosure 1, Tab 1.

        Further, Case Management Order No. 2 [Doc. 103 at ¶ 5] requires that all Plaintiff Profile
Forms be notarized in accordance with Peruvian law. Defendants have identified 224 instances in
which 141 individual Plaintiffs failed to comply with the notarization requirement, whether by
failing to notarize the original or supplemental Profile Sheets or, in a small number of instances,
producing a Profile Sheet with an incomplete or deficient notarization. See Enclosure 1, Tab 2.



                                                                                        EXHIBIT A
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   2. Production of Medical and Educational Records

       Defendants have identified numerous deficiencies in the production of medical and
education records. For example, there are many instances in which Plaintiffs have failed to
produce records or no records certifications from providers identified in their Profile Sheets. And
a number of Plaintiffs, particularly in later groups or those unnassigned to any group, have
produced no records at all.

   3. Verifications for Initial Discovery Cohort’s May 20, 2019 Interrogatory Responses

        On December 9, 2019, Defendants received the verifications for the Initial Discovery
Cohort’s Responses to Defendants’ Interrogatories, dated March 8, 2019. None of these
verifications are notarized, although there is a place on each document for such a notarization.
Further, the signature pages do not identify to which discovery responses they relate. Adding to
the confusion, Plaintiffs appear to have served two signature pages per Plaintiff, but there were
three sets of written discovery responses to which Plaintiffs responded. Therefore, it is impossible
to correlate the signature pages to the correct discovery responses.

                                                ***

         In light of the foregoing, Defendants request a telephonic conference during the week of
January 13, 2020. Defendants wish to discuss these deficiencies, obtain Plaintiffs’ position
regarding these deficiencies, and establish a plan and schedule by which Plaintiffs will produce
complete information in compliance with the Court’s orders. Please let me know your availability
for this conference. I look forward to discussing these issues with you.

                                                      Sincerely,




                                                      Geoffrey M. Drake




CC:    All Counsel


Enclosure
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Plaintiffs who have failed to produce a Plaintiff Profile Sheet   PLF ID Federal Case #
Acuna Escobar, Sandra                                                973 4:16-cv-01731
Acuna Ibaceta, Jaqueline Magali                                      974 4:16-cv-01731
Aguirre Medina, Rosa Marilyn                                         976 4:16-cv-01731
Arias Amaro, Katherine Melissa                                       987 4:16-cv-01731
Arias Amaro, Kevin Arnold                                            988 4:16-cv-01731
Basualdo Leiva, Aracelly Estefany                                   1326 4:16-cv-01731
Bautista Huayta, Mercedes Angela                                     991 4:16-cv-01731
Blanco Rojas, Pamela Mayby                                           994 4:16-cv-01731
Briceno Lazaro, Jorge Luis                                           997 4:16-cv-01731
Caillahua de la Cruz, Renzo Edwar                                    999 4:16-cv-01731
Cajachagua Santos, Patricia                                         1327 4:16-cv-01731
Canchan Ramos, Lidubina Jeny                                         875 4:16-cv-01731
Carrera Espinoza, Johana Onofre                                     1012 4:16-cv-01731
Castro Torres, Luis Fernando                                        1028 4:16-cv-01731
Caycho Blas, Alexandra Elizabeth                                    1328 4:16-cv-01731
Cordova Arias, Irvin Hernan                                         1038 4:16-cv-01731
Cordova Arias, Irvin Jose                                           1039 4:16-cv-01731
Cordova Arias, Karen Elisa                                          1040 4:16-cv-01731
Cordova Arias, Ulises Efrain                                        1037 4:16-cv-01731
Cruz Inga, Rosalia Isabel                                           1329 4:16-cv-01731
Cuyubamba Espiritu, Flor de Maria                                   1045 4:16-cv-01731
Escalante Tapia, Sharon Erika                                       1052 4:16-cv-01731
Espinoza Dionicio, Williams                                         1055 4:16-cv-01731
Huamani Arellano, Erick Luis                                         985 4:16-cv-01731
Huanay Izquierdo, Estefany Alison                                   1330 4:16-cv-01731
Mejia Raza, Efa Angela                                              1331 4:16-cv-01731
Pacotaype Quispe, Jeremy Haward                                     1332 4:16-cv-01731
Palacios Inga, Jhenifer Noemi                                          14 4:16-cv-01731
Quispe Vidal, Devid Soel                                            1333 4:16-cv-01731
Romero Chavez, Keler Leonidas                                       1030 4:16-cv-01731
Salazar Vidalon, Alfredo Francisco                                  1334 4:16-cv-01731
Santos Culis, Einstein Max                                          1044 4:16-cv-01731
Saravia Esteban, Jerson David                                       1335 4:16-cv-01731
V       E          ,A       J   M                                   1336 4:16-cv-01731
Villajuan Quincho, Sandy Susan                                      1337 4:16-cv-01731
Cano Fernandez, Juan Carlos                                         1338 4:17-cv-01270
Cano Fernandez, Sadit                                               1339 4:17-cv-01270
Canori Izquierdo, Roger Smith                                       1340 4:17-cv-01270
C        P     ,E         J                                         1007 4:17-cv-01270
Capcha Ponce, Jorge Luis                                            1008 4:17-cv-01270
Condori de la Cruz, Alexander                                       1031 4:17-cv-01270
Correa Sinche, Luis Gastavo                                         1041 4:17-cv-01270
De La Cruz Ingaruca, Jhonatan Abraham                               1341 4:17-cv-01270
Julca Condor, Adriana Estefany                                      1342 4:17-cv-01270
Manrique Salazar, Alexandra Beatriz                                 1343 4:17-cv-01270
Z         R     ,S     D                                            1344 4:17-cv-01270

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Plaintiffs who have failed to produce a Plaintiff Profile Sheet   PLF ID Federal Case #
Zacarias Rodriguez, Humberto Gary                                   1345 4:17-cv-01270
Advincula Conde, Alexandra Johemi                                   1325 4:18-cv-00575-RLW
A       C                  ,S       K                               1353 4:18-cv-00575-RLW
A     C        ,A         S                                         1354 4:18-cv-00575-RLW
A         R       ,F       J                                        1355 4:18-cv-00575-RLW
A       P       ,J        A                                         1356 4:18-cv-00575-RLW
A      C       ,J                                                   1357 4:18-cv-00575-RLW
B        V       ,M           A                                     1358 4:18-cv-00575-RLW
B       R        ,J            N                                    1359 4:18-cv-00575-RLW
B       S        ,T        S                                        1360 4:18-cv-00575-RLW
BSM                                                                 1485 4:18-cv-00575-RLW
C         Q       ,K         B                                      1361 4:18-cv-00575-RLW
Canchuricra Vilca, Nicol Aurelia                                    1362 4:18-cv-00575-RLW
C     G         ,L          E                                       1363 4:18-cv-00575-RLW
Carrera Espinoza, Jhoselyn                                          1011 4:18-cv-00575-RLW
Carrera Espinoza, Katerin                                           1013 4:18-cv-00575-RLW
Carrera Espinoza, Nicol                                             1014 4:18-cv-00575-RLW
Castaneda Cochachi, Nayeli Lucia                                    1365 4:18-cv-00575-RLW
C           C           ,Y        L                                 1364 4:18-cv-00575-RLW
C       Z        ,A        J                                        1366 4:18-cv-00575-RLW
Castro Zevallos, Angela Justina                                     1346 4:18-cv-00575-RLW
Castro Zevallos, Paola Carmela                                      1367 4:18-cv-00575-RLW
Caycho Blas, Cristian Antony                                        1368 4:18-cv-00575-RLW
C        C           ,X           S                                 1369 4:18-cv-00575-RLW
Cirineo Angoma, Milady Mishel                                       1370 4:18-cv-00575-RLW
Condori de la Cruz, Junior                                          1032 4:18-cv-00575-RLW
C         Q        ,N                                               1035 4:18-cv-00575-RLW
Crispin De La Cruz, Deysi Lisbeth                                   1371 4:18-cv-00575-RLW
Delgadillo Ravichagua, Jeferson Moises                              1047 4:18-cv-00575-RLW
E              ,A        G                                          1056 4:18-cv-00575-RLW
Espinoza Inga, Jhanae Mireya                                        1057 4:18-cv-00575-RLW
G          C ,C                 P                                   1372 4:18-cv-00575-RLW
H           P        ,E C                                           1373 4:18-cv-00575-RLW
H           P        ,L                                             1374 4:18-cv-00575-RLW
H         D      ,J       S                                         1375 4:18-cv-00575-RLW
H         D      ,S            K                                    1376 4:18-cv-00575-RLW
H            T            ,F        H                               1377 4:18-cv-00575-RLW
L     C           ,A          C                                     1378 4:18-cv-00575-RLW
M       G       ,R           A                                      1379 4:18-cv-00575-RLW
M         M           ,J        G     M                             1380 4:18-cv-00575-RLW
MLCD                                                                1486 4:18-cv-00575-RLW
P     R     ,J       J                                              1381 4:18-cv-00575-RLW
P     R     ,J           T                                          1382 4:18-cv-00575-RLW
Q         G      ,R         S                                       1383 4:18-cv-00575-RLW
Q           M ,J              G                                     1384 4:18-cv-00575-RLW
Q       A      ,C        A                                          1385 4:18-cv-00575-RLW

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Plaintiffs who have failed to produce a Plaintiff Profile Sheet   PLF ID Federal Case #
P          B     ,S                                                 1421 4:18-cv-00585-RLW
Q        C              ,B       B                                  1422 4:18-cv-00585-RLW
R        F           ,T                                             1423 4:18-cv-00585-RLW
Ramos Ramos, Ronaldo Oscar                                          1350 4:18-cv-00585-RLW
R     J        ,A      M                                            1424 4:18-cv-00585-RLW
R       C        ,L A                                               1425 4:18-cv-00585-RLW
Rivera Arauco, Lesly Vivan                                          1426 4:18-cv-00585-RLW
RMACJ                                                               1489 4:18-cv-00585-RLW
RZZ                                                                 1490 4:18-cv-00585-RLW
Sagiga Jurado, Gian Pool                                            1427 4:18-cv-00585-RLW
Santivanez Calderon, Alessandro O'Bryan                             1000 4:18-cv-00585-RLW
S            F      ,S      Z                                       1429 4:18-cv-00585-RLW
S           A        ,R        J                                    1428 4:18-cv-00585-RLW
Silva Apolinario, Eduardo                                           1430 4:18-cv-00585-RLW
Solano Ramos, Grissell Tania                                        1432 4:18-cv-00585-RLW
Soto Reyes, Yadhira Emilia                                          1433 4:18-cv-00585-RLW
V        E            ,F       S                                    1435 4:18-cv-00585-RLW
V     Q        ,F       Y                                           1436 4:18-cv-00585-RLW
V        G       ,Y       H                                         1437 4:18-cv-00585-RLW
Vilchez Ricaldi, Eymi Lorena                                        1438 4:18-cv-00585-RLW
Alcantara Lazaro, Hanns Kevin                                       1439 4:18-cv-00594-HEA
Alcantara Lazaro, Lucero Anac                                       1440 4:18-cv-00594-HEA
Bacilio Ordonez, Betzabeth Eunice                                   1441 4:18-cv-00594-HEA
Bacilio Ordonez, Ruth Sarai                                         1442 4:18-cv-00594-HEA
B          L     ,J       M                                         1443 4:18-cv-00594-HEA
Baldeon Leiva, Shirley Rosario                                      1444 4:18-cv-00594-HEA
B           F       ,P       L                                      1445 4:18-cv-00594-HEA
Basualdo Fermin, Vanesa Ingrio                                      1446 4:18-cv-00594-HEA
Cano Fernandez, Elvis                                               1447 4:18-cv-00594-HEA
Cano Fernandez, Genesis                                             1448 4:18-cv-00594-HEA
Carhuaz Cirineo, Abigail Damaris                                    1449 4:18-cv-00594-HEA
Carhuaz Cirineo, Araceli Samantha                                   1450 4:18-cv-00594-HEA
C     C ,F                                                          1451 4:18-cv-00594-HEA
Caso Caso, Katherine Nerida                                         1023 4:18-cv-00594-HEA
Espinoza Mendizabal, Maria Isabel                                   1058 4:18-cv-00594-HEA
Espinoza Mendizabal, Smit Pleto                                     1059 4:18-cv-00594-HEA
Flores Cirineo, Antony Oscar                                        1452 4:18-cv-00594-HEA
F       C        ,S       Y                                         1453 4:18-cv-00594-HEA
H         I          ,J      J                                      1454 4:18-cv-00594-HEA
Huanay Izquierdo, Wilis Jhordan                                     1351 4:18-cv-00594-HEA
Jaime Ingaruca, Jahzeel Antonio                                     1455 4:18-cv-00594-HEA
Jaime Ingaruca, Merari Lucia                                        1456 4:18-cv-00594-HEA
J     C         ,S           G                                      1457 4:18-cv-00594-HEA
Junco Baldeon, James Erick                                          1458 4:18-cv-00594-HEA
Junco Baldeon, Nicol Estefany                                       1459 4:18-cv-00594-HEA
KMCP                                                                1484 4:18-cv-00594-HEA

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Plaintiffs who have failed to produce a Plaintiff Profile Sheet   PLF ID Federal Case #
Manrique Salazar, Jesus Alex                                        1460 4:18-cv-00594-HEA
Manrique Salazar, Roberto Carlos                                    1461 4:18-cv-00594-HEA
Ollero Custodio, Anderson Steven                                    1462 4:18-cv-00594-HEA
O       C        ,A       A                                         1463 4:18-cv-00594-HEA
Osorio De La Cruz, Jhon Brayan                                      1464 4:18-cv-00594-HEA
O        D L C ,V           A                                       1465 4:18-cv-00594-HEA
Payta Paita, Alison Braysi                                          1466 4:18-cv-00594-HEA
P             T        ,Y      P                                    1467 4:18-cv-00594-HEA
P             T        ,Z      V                                    1468 4:18-cv-00594-HEA
Q        G        ,M          M                                     1469 4:18-cv-00594-HEA
Simon Apolinario, Frank Leandro                                     1470 4:18-cv-00594-HEA
Simon Apolinario, Jackelin Melisa                                   1471 4:18-cv-00594-HEA
T        V       ,J     A                                           1472 4:18-cv-00594-HEA
Toribio Vasquez, Nayeli Mayli                                       1473 4:18-cv-00594-HEA
V      P      ,D     S                                              1474 4:18-cv-00594-HEA
Vega Paucar, Kimberly Edelin                                        1475 4:18-cv-00594-HEA
Vega Paucar, Maricielo Rosali                                       1476 4:18-cv-00594-HEA
Vezasquez Romero, Andrea                                            1477 4:18-cv-00594-HEA
V            R      ,J     M                                        1478 4:18-cv-00594-HEA
V          Q       ,A         M                                     1479 4:18-cv-00594-HEA
Villajuan Quincho, Katherine Giovana                                1352 4:18-cv-00594-HEA
Villajuan Quincho, Mark Anthony                                     1480 4:18-cv-00594-HEA
Zacarias Rodriguez, Mirela Rosmery                                  1482 4:18-cv-00594-HEA
Zacarias Rodriguez, Yessy Clayde                                    1481 4:18-cv-00594-HEA




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Plaintiffs with one or more deficient notarizations in PPS   PLF ID
Aburto Soto, Jose Luis                                                227
Acuna Ibaceta, Erick Brandon                                          228
Agui Yupanqui, Geanfranco Sergio                                       37
Aguilar Rodriguez, Jadira Noelia                                       10
Aguirre Barrera, Roberto Carlos                                       466
Aguirre Medina, Susi Raquel                                           978
Alania Suarez, David Daniel                                            21
A        E        ,A     D P                                           43
A        E        ,R      B                                           325
Amaya Ayala, Marco Felix                                               45
Ampudia Echevarria, Esperanza Caroline                                327
Ampudia Pena, Brandon Leonardo                                        527
Ampudia Pena, Esther Shalem                                           328
Anchirayco Guierrez, Smith Maycol                                       1
Ancieta Romero, Jhon Miler                                             48
A             ,J         A                                            330
Aratoma Santivanez, Yan Carlos                                        132
A         C ,J              E                                          56
Arellano Reyes, Steffany Milagros                                     417
Arias Julca, Valerie Mishel                                            63
Arteaga Soriano, Jhonatan                                             234
Astudillo Quintana, Mishelle Lucero                                   241
Astudillo Yurivilca, Rosa Luz                                         243
Aza Ramos, Jhordy Antony                                              990
Barrera Salcedo, Andrio Dominic                                       250
B        A         ,A       E                                          74
Barreto Ibaceta, Soledad Amanda                                       253
Barzola Ccanto, Steven Richard                                        471
Barzola Galvan, Damaris Andrea                                        539
Basilio Romero, John Antony                                           257
B        C        ,L       A                                          259
Bueno Proa, Jhonny David                                               80
Cajahuanca Amaya, Isabel Maura                                        545
Cajahuanca Arrieta, Stephanie Ingrid                                  873
Calderon Rojas, Nikolai Joacim                                        267
C       L      ,W       J                                             268
C               Q            ,J     M                                 547
Carrasco Parra, Milder Fausto                                         714
Casimir Soto, Giancarlos                                              889
Caso Arroyo, Meylith Asarela                                            3
Caso Lazaro, Angela Jhomara                                           104
Caso Zacarias, Juan Carlos Fausto                                     107
C        T ,A         K                                               111
C       M         ,L     B                                            479
Chavez Ventura, Nashira Kiomara                                       892
Chicmana Licas, Jose Manuel                                           280

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Plaintiffs with one or more deficient notarizations in PPS   PLF ID
Condor Camacuari, Emilyn Milagros                                 559
Condor Ortega, Sheyla Angela                                      482
Condor Rupay, Yasira Mercy                                        562
Condor Saez, Jhoselyn Shirley                                     128
Cordova Basteres, Anyeli Carol                                    483
Crisostomo Soriano, Maria Milagros                                568
C        J    ,J       O                                          139
Cueva Santos, Anthony Alesandro                                   140
Curi Robles, Treicy Angela                                        422
Damian Jorge, Yasuri Haydee                                       289
D           C ,J           Y                                      574
Delgadillo Caso, Stuart Dayron                                    724
E          D      ,J      A                                       484
Espinoza Laureano, Jhonatan Raul                                  292
Espinoza Llacza, Jesus Mario                                      578
Espinoza Yantas, Mayory Leidy                                    1061
E          Y     ,N        L                                      485
Espinoza Yantas, Roberto Luis                                    1062
Espinoza Yauri, Jose Julian                                       147
Espiritu Carhuancho, Jhony Jaime                                  902
E        C ,K         B                                           152
Estrella Barrientos, Maria Fatima                                  33
Estrella Barrientos, Yovana Catrin                                 34
Fabian Ortega, Amparo Paola                                       487
Flores Burgos, Nickol Magaly                                      158
Flores Marcos, Danfer Saul                                        585
Gallardo Chihuan, Anyi Kely                                       305
Gallardo Villanueva, Armando Jesus                                308
Gallardo Villanueva, Jose Armando                                 309
Godoy Cuadrado, D'Alessandro Farith                              1078
Guere Casas, Anthony William                                      591
Huaman Lazaro, Jose Rene                                          910
Huaman Ortega, Giancarlo Jose                                     598
Huanay Escandon, Yannela Yolanda                                  602
Huanay Martinez, Giancarlos Gider                                 165
Huaynate Alania, Jose Miguel                                      166
Huayta Carhuancho, William Xavier                                 745
Hurtado Porras, Miler Junior                                       28
Hurtado Porras, Rocio Marleny                                      29
       G       ,S       A                                         168
Izarra Huanacune, Anthony Bruce                                   314
Izarra Huanacune, Cesar Michael                                   315
L          S ,R         S                                         176
Licas Gamarra, Gehampier Alexander                                179
Lobato Vivas, Annabel Milagros                                    181
Lopez Sorjano, Jordy Wily                                         183

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Plaintiffs with one or more deficient notarizations in PPS   PLF ID
Yantas Alvino, Ruth Andrea                                            465
Z       O      ,F      M                                              415
Zurita Pizarro, Jeanfranco Aldo                                       526




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